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            EXHIBIT A
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From: Kenneth Caruso <ken.caruso@kennethcarusolaw.com>
Sent: Friday, November 1, 2024 11:09 AM
To: joethebox@theamericafirstwarehouse.com; Rudy G — New <TruthandJustice4U@protonmail.com>;
david@labkowskilaw.com; Nathan, Aaron E. <ANathan@willkie.com>; jmorgan@morganmanhattan.co
Subject: Re: Rudolph Giuliani

                                                                     *** EXTERNAL EMAIL ***

Dear Mr. Verlander. I represent Mr. Giuliani (copied here), who, I understand, has property
stored at your facility. I write, on behalf of Mr. Giuliani, to authorize/request/direct you to
provide Mr. Aaron Nathan (copied here) and/or a representa ve of Morgan Manha an
(copied here), with access to Mr. Giuliani’s property. Please be in touch with me and/or Mr.
Nathan if you have any ques ons.

Kenneth A. Caruso
Kenneth Caruso Law
Phone: (646) 599-4970
Email: Ken.Caruso@kennethcarusolaw.com

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sender by return e-mail message and delete all copies of the original communication. Thank you for your cooperation.




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